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Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 2 of 39 PAGEID #: 7191
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 3 of 39 PAGEID #: 7192
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 4 of 39 PAGEID #: 7193
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 5 of 39 PAGEID #: 7194
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 6 of 39 PAGEID #: 7195
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 7 of 39 PAGEID #: 7196
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 8 of 39 PAGEID #: 7197
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 9 of 39 PAGEID #: 7198
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 10 of 39 PAGEID #: 7199
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 11 of 39 PAGEID #: 7200
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 12 of 39 PAGEID #: 7201
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 13 of 39 PAGEID #: 7202
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 14 of 39 PAGEID #: 7203
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 15 of 39 PAGEID #: 7204
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 16 of 39 PAGEID #: 7205
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 17 of 39 PAGEID #: 7206
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 18 of 39 PAGEID #: 7207
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 19 of 39 PAGEID #: 7208
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 20 of 39 PAGEID #: 7209
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 21 of 39 PAGEID #: 7210
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 22 of 39 PAGEID #: 7211
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 23 of 39 PAGEID #: 7212
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 24 of 39 PAGEID #: 7213
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 25 of 39 PAGEID #: 7214
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 26 of 39 PAGEID #: 7215
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 27 of 39 PAGEID #: 7216
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 28 of 39 PAGEID #: 7217
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 29 of 39 PAGEID #: 7218
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 30 of 39 PAGEID #: 7219
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 31 of 39 PAGEID #: 7220
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 32 of 39 PAGEID #: 7221
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 33 of 39 PAGEID #: 7222
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 34 of 39 PAGEID #: 7223
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 35 of 39 PAGEID #: 7224
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 36 of 39 PAGEID #: 7225
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 37 of 39 PAGEID #: 7226
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 38 of 39 PAGEID #: 7227
Case: 2:05-cv-00819-EAS-TPK Doc #: 329 Filed: 05/21/09 Page: 39 of 39 PAGEID #: 7228
